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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                     (COLUMBUS)

MICHAEL J. YOUNG,                   )
                                    )
      Plaintiff,                    )
                                    )
vs.                                 )
                                    )               Case No.: 2:18-cv-00052-MHW-CMV
LEXISNEXIS, et al.,                 )
                                    )
      Defendants.                   )
___________________________________ )

               DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
               ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

       Defendant, Equifax Information Services LLC (“Equifax”), incorrectly named as Equifax

Credit Information Services, Inc., by Counsel, files its Answer and Defenses to Plaintiff’s

Complaint (“Complaint”) as follows:

                                PRELIMINARY STATEMENT

       In answering the Complaint, Equifax states that it is responding to allegations on behalf

of itself only, even where the allegations pertain to alleged conduct by all Defendants. Equifax

denies any and all allegations in the headings and/or unnumbered paragraphs in the Complaint.

                                              ANSWER

       Equifax is without knowledge or information sufficient to form a belief as to the truth of

the allegations in the “Background Information” section on page 1 of the Complaint.

       In response to the specific allegations in the enumerated paragraphs in the Complaint,

Equifax responds as follows:

       1.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 1.
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       2.      Equifax admits it conducts business in the State of Ohio. Equifax is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 2.

       3.      To the extent Plaintiff has properly alleged his claims, Equifax admits the Court

may exercise its jurisdiction.

       4.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 4.

       5.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 5.

       6.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 6.

       7.      Equifax reasserts and re-alleges its responses and defenses as set forth above in

Paragraphs 1 through 6.

       8.      Equifax admits that it received disputes from Plaintiff. The disputes speak for

themselves, and to the extent that Plaintiff misstates, misquotes, mischaracterizes, or takes out of

context the contents of the disputes, Equifax denies those allegations. Equifax denies the

remaining allegations in Paragraph 8.

       9.      Equifax denies the allegations in Paragraph 9.

       10.     Equifax reasserts and re-alleges its responses and defenses as set forth above in

Paragraphs 1 through 9.

       11.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 11.

       12.     Equifax is without knowledge or information sufficient to form a belief as to the



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truth of the allegations in Paragraph 12.

       13.     Equifax reasserts and re-alleges its responses and defenses as set forth above in

Paragraphs 1 through 12.

       14.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 14.

       15.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 15.

       16.     Equifax denies Plaintiff is entitled to any relief claimed in the WHEREFORE

Paragraphs.

       17.     Equifax admits Plaintiff demands a trial by jury.

       18.     Any allegation in Plaintiff’s Complaint not heretofore specifically responded to

by Equifax is hereby denied.

                                             DEFENSES

       Without assuming the burden of proof where it otherwise rests with Plaintiff, Equifax

pleads the following defenses to the Complaint:

                                           FIRST DEFENSE

       At all pertinent times, Equifax maintained reasonable procedures to assure maximum

possible accuracy in its credit reports.

                                       SECOND DEFENSE

       Plaintiff’s damages, if any, were not caused by Equifax, but by another person or entity

for whom or for which Equifax is not responsible.

                                           THIRD DEFENSE

       Equifax has complied with the Fair Credit Reporting Act in its handling of Plaintiff’s



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credit file and is entitled to each and every defense stated in the Act and any and all limitations

of liability.

                                       FOURTH DEFENSE

        At all relevant times herein, the Plaintiff’s alleged damages, which Equifax denies exist,

were aggravated by the failure of the Plaintiff to use reasonable diligence to mitigate the same.

Therefore, Plaintiff’s recovery, if any, should be barred or decreased by reason of his failure to

mitigate alleged losses.

                                        FIFTH DEFENSE

        Plaintiff cannot meet the requirements of 15 U.S.C. § 1681n in order to recover punitive

or statutory damages.

                                        SIXTH DEFENSE

        Equifax adopts by reference the defenses, criteria, limitations, standards and

constitutional protections mandated or provided by the United States Supreme Court in the

following cases: BMW v. Gore, 517 U.S. 559 (1996); Cooper Indus., Inc. v. Leatherman Tool

Group, Inc., 532 U.S. 923 (2001); State Farm v. Campbell, 538 U.S. 408 (2003), and Safeco

Insurance Co. of America v. Burr, 551 U.S. 47 (2007).

        Equifax reserves the right to have additional defenses that it learns through the course of

discovery.

        WHEREFORE, having fully answered or otherwise responded to the allegations in

Plaintiff’s Complaint, Equifax prays that:

        (1)     Plaintiff’s Complaint be dismissed in its entirety and with prejudice, with all costs

taxed against Plaintiff;

        (2)     Equifax be dismissed as a party to this action;



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       (3)     Equifax recover such other and additional relief as the Court deems just and

appropriate.

                                          Respectfully submitted,

                                          /s/ David A. Wallace
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                                          Equifax Information Services, LLC




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                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically on May 14, 2018. Notice

of this filing was also sent by operation of the Court's electronic filing system to all other

counsel who have entered an appearance and any parties who have entered an appearance

through counsel. The parties may access this filing through the Court's ECF system.

       I certify that a copy of the foregoing was also served on May 14, 2018 by First Class U.S.

Mail, postage prepaid upon:

Michael J. Young
610 Old Farm Road
Columbus, Ohio 43213


                                               /s/ David A. Wallace
                                               One of the Attorneys for Defendant
                                               Equifax Information Services, LLC




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